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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


HAFSAT ABIOLA,                                        )
ANTHONY ENAHORO, and                                  )
ARTHUR NWANKWO,                                       )
                   Plaintiffs,                        )
                                                      )
       vs.                                            )       Case No. 02 C 6093
                                                      )
ABDUSALAMI ABUBAKAR,                                  )
                                                      )
                               Defendant.             )

                          MEMORANDUM OPINION AND ORDER

MATTHEW F. KENNELLY, District Judge:

       The defendant, General Abdusalami Abubakar, is a former member of the military

regime that ruled Nigeria from November 1993 to May 1999. The plaintiffs are Nigerian

citizens who were allegedly tortured, or whose parents were allegedly tortured, at Abubakar’s

behest because they criticized the military regime while it was in power. They have sued

Abubakar under the Alien Tort Claims Act (ATCA), 28 U.S.C. § 1350, and the Torture Victim

Protection Act (TVPA), 28 U.S.C. § 1350 note § 2(a). In this decision, the Court undertakes the

unenviable task of determining whether the Nigerian legal system affords the plaintiffs a remedy

for their alleged injuries or whether that legal system is ineffective and inadequate.

       We refer to our task as unenviable because the TVPA’s requirements place the Court in

an unusually uncomfortable position. Congress has, in the TVPA, conferred on this country’s

judiciary the determination of the adequacy of legal remedies in another country. A court in this

country is unlikely to be in a good position effectively to gauge the adequacy of another

country’s judicial system – particularly when we are dependent (as we always are, in an
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adversary system of justice) upon the ability of counsel to marshal and present evidence that

adequately addresses the issue.

       Second, the TVPA essentially allows another country’s citizens to sue their own leaders

in this country’s courts. Though victims of wrongful imprisonment and torture by dictatorial

regimes present appealing cases for judicial intervention, imagine if the shoe were on the other

foot. What would be the reaction of our government if an individual – either a United States

citizen or a non-citizen – were to obtain a judgment in some other country against our Nation’s

leaders on the basis that he lacked an adequate legal remedy here for a claim of wrongful

detention or mistreatment while in custody? One may reasonably question whether it is wise to

confer on the judicial branch the determination of an issue that potentially could affect the

conduct of this Nation’s foreign policy.1

       Our assessment of the wisdom of Congress’ adoption of the ATCA and TVPA, however,

can have no bearing on our decision in this case. A court is required to enforce the law as it is,

not as one might like it to be. The TVPA directs courts to address whether the plaintiff had an

adequate and available remedy in the country where the alleged misconduct occurred. Though

this Court is uncomfortable dealing with this issue, we must abide by Congress’ directive.

                                               Facts

       According to the plaintiffs’ complaint, from 1993 to 1998, General Abubakar attempted

to silence Chief Anthony Enahoro, Arthur Nwankwo, and Hafsat Abiola’s parents, Chief M.K.O.

Abiola and Alhaja Kudirat Abiola – all vocal advocates of democratic reform in Nigeria –


       1
          We note that although the government filed a brief as amicus curiae in the earlier appeal
in this case to express its views regarding whether the ATCA creates a private right of action, it
has not asked to express its views on the question now before the Court.

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through a regular dose of imprisonment and torture. Abubakar allegedly had Chief Abiola

imprisoned in 1994 and kept him detained until he died in custody in 1998; imprisoned Enahoro,

a diabetic, for four months in 1994 without providing him insulin or proper medical treatment;

had Alhaja Kudirat Abiola assassinated in 1996; and caused Nwankwo to be arrested, detained,

and flogged over a period of more than two months in 1998.

       In 1999, Abubakar, who by then had become Nigeria’s head of state, instituted

democratic elections in Nigeria, and the military regime came to an end. On February 22, 2001,

the plaintiffs filed this lawsuit in the United States, seeking damages under the ATCA.

Abubakar defended the lawsuit by arguing that he was immune from suit under the Foreign

Sovereign Immunities Act and that the Court lacked subject matter jurisdiction under the TVPA

because plaintiffs had not exhausted their remedies abroad. The Court ruled that Abubakar was

entitled to immunity for the acts he allegedly committed while he was head of state but lacked

immunity for all other claims. See Abiola v. Abubakar, 267 F. Supp. 2d 907, 916-917 (N.D. Ill.

2003). The Court rejected, however, Abubakar’s argument concerning subject matter

jurisdiction. Id. at 910. On interlocutory appeal, the Seventh Circuit affirmed our ruling on the

sovereign immunity issue but reversed our ruling on subject matter jurisdiction, citing the

Supreme Court’s intervening decision in Sosa v. Alvarez-Machain, 542 U.S. 692 (2004). The

Seventh Circuit held that the TVPA, along with its attendant exhaustion requirement, provides

the only cause of action for aliens seeking compensation for acts of torture abroad. See Enaharo

v. Abubakar, 408 F.3d 877, 885 (7th Cir. 2005).

       On remand, Abubakar moved for summary judgment on the exhaustion issue. On

November 8, 2005, the Court denied Abubakar’s motion, concluding that the plaintiffs had


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raised a genuine issue of material fact by presenting State Department reports suggesting that the

Nigerian judiciary provided an inadequate forum for their claims. See Abiola v. Abubakar, No.

02 C 6093, 2005 WL 3050607, *3 (N.D. Ill. Nov. 8, 2005).

       On May 4 and May 5, 2006, the Court held an evidentiary hearing on the availability of

remedies in Nigeria. Abubakar offered evidence that once Nigeria became democratic in 1999,

the plaintiffs could have sued Abubakar in Nigeria under the human rights provision of the 1999

Nigerian Constitution or under the African Charter of Human and People’s Rights. In response,

plaintiffs offered evidence that the statute of limitations on such actions had run before plaintiffs

could have brought an effective suit, i.e., before Nigeria became democratic. Plaintiffs also

presented evidence that Nigerian courts are subject to corruption and that court judgments, even

today, are regularly ignored by the executive branch.

       Abubakar’s evidence primarily consisted of testimony from his expert witness, Adebayo

Adaralegbe, a Nigerian lawyer who has nearly eighteen years of legal experience but whose area

of expertise is commercial law. May 4, 2006 Tr. at 16-17. Adaralegbe testified that during the

1980s and 1990s, the military regime suspended many provisions of the 1979 Nigerian

Constitution by enacting various decrees. Id. at 80. Decree 1 suspended those portions of the

1979 Constitution that gave citizens a right to seek redress for human rights violations, and

Decree 2 prevented an individual from seeking judicial recourse when he or she was detained by

the military. May 4, 2006 Tr. at 80.

       Adaralegbe testified that to make way for the 1999 Constitution, the military regime, as it

was leaving power, issued a final decree that repealed all of the previous decrees. Id. at 81. The

1999 Constitution then reestablished many of the rights that the earlier decrees had eliminated.


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Id. at 81, 91. According to Adaralegbe, the 1999 Constitution has a retroactive effect and allows

a plaintiff to sue under its human rights provision for violations that occurred prior to its

adoption. Id. at 91. In support of this interpretation, Adaralegbe pointed to section 46 of

Chapter IV of the Nigerian Constitution, which says, “Any person who alleges that any of the

provisions of [the chapter of the constitution dealing with fundamental rights] has been, is being

or likely to be contravened in any State in relation to him may apply to a High Court in that State

for redress.” May 5, 2006 Tr. at 133. He said that the statute of limitations for bringing suits

under this provision is one year, though courts may extend that period if the plaintiff accounts

for his delay to the satisfaction of the judge. Id. at 167-68 (citing Ex. 16 at 522 (Tafida v. Alhaji

Sa’adu Abubakar (1991))).

       Adaralegbe also testified that the African Charter, a treaty that was signed by Nigeria in

the 1990s, provides a second vehicle for individuals seeking compensation for past human rights

violations. He pointed to a 2000 Nigerian Supreme Court case captioned Abacha v. Fawehinmi,

where the court held that the decrees issued by the military, particularly Decree 2 and Decree 12,

did not alter or abridge the rights under the African Charter, including the right to be free from

government-sponsored torture. See Def. Ex. 11 at 268.

       Adaralegbe also testified that a victim of human rights violations could sue under the

Nigerian common law of torts and that the statute of limitations on such suits is six years if

brought in the Nigerian state of Lagos. May 5, 2006 Tr. at 113.

       Lastly, Adaralegbe discussed the United States Department of State country reports on

Nigeria issued over the past several years and expressed concern that the language in the reports

remained the same or similar from year to year. Id. Adaralegbe pointed out that the reports


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discussing the judiciary often begin and end with a practically identical paragraph, which,

according to him, suggests that the reports were not the product of an in-depth analysis but,

rather, a recycling of the reports from year to year. Id. The report from 2005 reads in part as

follows:

       Although the law provides for an independent judiciary, the judicial branch remained
       susceptible to executive and legislative branch pressure. Political leaders influenced the
       judiciary, particularly at the state and local levels. Understaffing, underfunding,
       inefficiency, and corruption continued to prevent the judiciary from functioning
       adequately. Citizens encountered long delays and frequent requests from judicial
       officials for small bribes to expedite cases.

United States Department of State, Country Reports on Human Rights Practices, Nigeria, 2005

(March 2006).

       The plaintiffs’ evidence also primarily consisted of expert testimony. Their expert was

Femi Falana, a Nigerian lawyer who has practiced for twenty-four years in the area of human

rights law. In Nigeria, he represented two of the plaintiffs in this case, M.K.O. Abiola and

Enaharo, while they were detained by the military regime. He himself was also detained on two

occasions for several months each time, because of his work as a human rights lawyer. Falana

has authored a book on human rights enforcement in Nigeria.

       Falana agreed with Adaralegbe on a number of points. He agreed that a lawsuit brought

under the African Charter or the human rights provision of the 1999 Nigerian Constitution

ordinarily carries with it a one year statute of limitations, which the court may extend if it

determines that the plaintiff has properly accounted for his or her delay. May 25, 2006 Tr. at

308. He also agreed that rights under the African Charter, including the right to be free from

government sponsored torture, were unaffected by the decrees of the military regime. Id. at 267.

Finally, he agreed that the plaintiff could sue the defendant under the law of tort and that the

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statute of limitations on such an action is ordinarily six years. Id. at 309. Falana testified,

however, that when a plaintiff challenges the acts of a government official in a lawsuit,

regardless of whether the suit is brought under the Nigerian Constitution, the common law, or

the African Charter, the statute of limitations for the lawsuit is shortened to three months under

Nigeria’s Public Officers Protection Act (POPA). Id.

       Though the POPA would seem particularly relevant to their case, plaintiffs did not

submit a copy of the POPA or any Nigerian case applying the POPA. Rather, they quoted a

Nigerian court’s discussion of the POPA without attaching the case or the statute. Pls. Post-

Hearing Brief at 15. The defendants, however, did submit a case from the Nigerian Court of

Appeals that discusses the POPA. See Ex. 16 at 522 (Tafida v. Alhaji Sa’adu Abubakar (1991)).

That case quotes the POPA as follows:

       Where any action, prosecution or other proceeding is commenced against any person for
       any act done in pursuance or execution or intended execution of any Law or of any public
       duty or authority . . . the action, prosecution or proceeding shall not lie or be instituted
       unless it is commenced within three months next after the act, neglect, or default
       complained of.

Id. The defendants presented no evidence suggesting the POPA would not apply to claims of the

type brought by the plaintiffs in this case.

       Falana also testified, contrary to Adaralegbe, that the 1999 Constitution does not apply

retroactively. Id. at 204. Falana supported his interpretation by citing section 6(6)(d) of the

1999 Constitution, which reads, “judicial powers vested in accordance with the foregoing

provisions of this section shall not . . . extend to any action or proceeding relating to any existing

law made on or after 15th January of 1966 for determining any issue or question as to the

competence of any authority or person to make any such law.” Id. at 204. He testified that this


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provision does more than simply prohibit inquiry into the legislative competence of authorities

existing prior to 1999. Id. at 249. Rather, Falana insisted that it prohibits any lawsuit seeking

compensation for acts committed by the military regime. Id. 214, 249.

       On this point, Falana’s and Adaralegbe’s testimony is in direct conflict. The Court,

however, finds Adaralegbe’s testimony more persuasive. As Abubakar argues, the constitutional

provision cited by Falana, which refers to inquiries into competency “to make . . . law,” appears

to concern the adoption of laws, not acts taken by executive authorities in carrying out the law,

or as claimed in this case, outside the framework of the rule of law. In addition, Adaralegbe

cited case law supporting his interpretation of this provision, and Falana did not. See Nangibo v.

Okafor at 83-85 (2003) (“What section 6(6)(d) of the Constitution was meant to do or achieve

was to oust the jurisdiction of the courts in determining any issue or question as to the legislative

competence of any authority or person to promulgate any law.”).

       Falana also testified that the military regime would have ignored any judgment awarded

to the plaintiffs before May 1999. Id. at 201. The Court found this testimony credible and

persuasive. Falana recounted numerous cases in which the plaintiff obtained a judgment, and the

government simply refused to comply. Id. at 252, 254, 255. Falana also suggested that a

judgment awarded after May 1999 might have been ignored, citing recent criticism of the

executive branch for failing to enforce judgments. Id. at 197. Finally, he testified that the

United States Department Country Reports on Nigeria are accurate and reliable. Id. at 219-20.

                                             Discussion

       The TVPA provides that “[a]n individual who, under actual or apparent authority, or

color of law, of any foreign nation subjects an individual to torture shall, in a civil action, be


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liable for damages to that individual.” 28 U.S.C. § 1350 § note 2a. The statute contains an

exhaustion requirement, which provides, “A court shall decline to hear a claim under this section

if the claimant has not exhausted adequate and available remedies in the place in which the

conduct giving rise to the claim occurred.” Id. Every court that has applied this exhaustion

requirement looked for guidance to the report of the Senate committee that considered the

TVPA. See Jean v. Dorelien, 431 F.3d 776, 781-82 (11th Cir. 2005); Hilao v. Estate of Marcos,

103 F.3d 767, 778 n.5 (9th Cir. 1996); Sinaltrainal v. Coca-Cola Co., 256 F. Supp. 2d 1345,

1357-58 (S.D. Fla. 2003); Wiwa v. Royal Dutch Petroleum Co., No. 96 C 8386, 2002 WL

319887, *17 (S.D.N.Y. 2002); Mehinovic v. Vuckovic, 198 F. Supp. 2d 1322, 1347 n.30 (N.D.

Ga. 2002); Cabiri v. Assasie-Gyimah, 921 F. Supp. 1189, 1197 n.6 (S.D.N.Y. 1996); Xuncax v.

Gramajo, 886 F. Supp. 162, 178 (D. Mass. 1995). Though the Court ordinarily might question

the authoritativeness of legislative history of this type, there is no basis to do so in this case:

both the plaintiffs and Abubakar agree that the Senate report articulates the proper burden of

proof.

         The Senate report says that initiation of a lawsuit under the TVPA “will be virtually

prima facia case evidence that the claimant has exhausted his or her remedies in the jurisdiction

in which the torture occurred.” See S. Rep. No. 102-249, at 9-10 (1991), reprinted in 1991 WL

258662. The report goes on to state that the exhaustion requirement, consistent with general

principles of international law and United States common law, requires the defendant to raise the

issue of non-exhaustion of remedies as an affirmative defense and to point to remedies abroad

that have not been exhausted. Id. The burden then shifts to the plaintiff “to rebut by showing

that the local remedies were ineffective, unobtainable, unduly prolonged, inadequate, or


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obviously futile. The ultimate burden of proof and persuasion on the issue of exhaustion of

remedies, however, lies with the defendant.” Id. at 10.

       The first two steps of the Senate report’s burden shifting mechanism are familiar and

easy to follow. Traditional rules recognize that non-exhaustion is an affirmative defense that the

defendant must initially raise and prove. See, e.g., Dole v. Chandler, 438 F.3d 804, 809 (7th Cir.

2006). Once the defendant makes such a showing, it is traditionally the plaintiff’s burden to

prove that pursuing other remedies would be futile. See, e.g., Honig v. Doe, 484 U.S. 305, 325-

29 (1988); Greenfield Mils, Inc. v. Macklin, 361 F.3d 934, 958 (7th Cir. 2004) (holding, in Fifth

Amendment takings context, that plaintiff bears burden of proving that administrative remedies

are futile); In Home Health, Inc. v. Shalala, 272 F.3d 554, 560 (8th Cir. 2001) (same in Medicare

reimbursement context); Ames v. Am. Nat’l Can Co., 170 F.3d 751, 756 (7th Cir. 1999) (same in

ERISA context); Fuller v. Rich, 11 F.3d 61, 62 (5th Cir. 1994) (same in habeas context).

       Though the Senate report says the TVPA follows traditional exhaustion principles, it is

not completely clear what the report means when it says that the ultimate burden of proof and

persuasion remains on the defendants. The Court has been unable to find cases involving

exhaustion of remedies that discuss this principle. Ordinarily, as discussed above, the defendant

has the burden of pleading and proving that available remedies are unexhausted, and the plaintiff

has the burden of proving futility. It is unclear whether the TVPA requires defendant to prove

something else in addition to the presence of unexhausted remedies. Whatever the Senate report

means, however, we do not believe that it alters the traditional rule – particularly relevant in this

case – that the plaintiffs bear the burden of proving the futility of unexhausted remedies once the

defendant shows that remedies abroad have not been exhausted. The Senate report, upon which


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so many courts have relied, cites Honig for the proposition that the TVPA’s exhaustion

requirement is consistent with common-law principles. In Honig, the Supreme Court said that

the party raising the futility issue is required to prove it. Honig, 484 U.S. at 327.

       Having set out the legal standards applicable to this case, the Court proceeds to apply the

law to the facts. Abubakar has met his initial burden of proving that the plaintiffs failed to

exhaust available remedies before filing suit in the United States. Abubakar presented evidence

that after the military regime ended, the plaintiffs could have filed suit under the human rights

provision of the 1999 Constitution, the African Charter, or the common law of torts. Though the

statute of limitations on the first two types of actions is ordinarily one year, Abubakar presented

evidence that this period can be extended by the trial court judge if the plaintiff accounts for his

delay. Indeed, even Falana, the plaintiff’s expert, recognized in his book on Nigerian human

rights law that such extensions are possible. See Def. Ex. 15A at 86.

       Plaintiffs have, however, satisfied their burden of proving futility. Specifically, they

have established that the POPA required them to sue Abubakar, who at all relevant times was a

public officer in Nigeria, within three months of the accrual of their causes of action. Plaintiffs’

causes of action accrued on or before August 24, 1998. Three months from that date, the

military regime was still in power. In short, plaintiffs’ Nigerian causes of action expired before

democracy was restored in Nigeria and before there is any basis in the evidence to believe that a

judicial remedy was anything other than illusory.

       Any legal remedy available to the plaintiffs within the period required by the POPA, that

is, during the period of military rule, would have been futile. Plaintiffs established that the

military regime’s decrees barred Nigerian courts from questioning acts undertaken by the


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military regime. And even if a courageous judge might have proceeded despite the military

decrees, plaintiffs established that the military routinely ignored any occasional judgments that

may have been issued against the government.

       To summarize, Nigerian law (the POPA) would have required the plaintiffs to bring suit

during a period when, the evidence overwhelmingly showed, judicial remedies were ineffective

and futile. Defendant has not argued, and has presented no evidence, that any provision of

Nigerian law during or after the period of the military regime would have allowed a court to

ignore or extend the POPA’s three month limit on filing suit. And even if one could assume

(despite the absence of any evidence) that this time limit is subject to extension, defendant has

offered no evidence that a Nigerian court could have or would have done so in a case of this

type. The Court is unwilling to engage in such speculation in the absence of any supporting

evidence.

       Even if the POPA would not apply to the plaintiffs’ claims (though the evidence provides

no basis for such a belief), the Department of State Country Reports from 2000-2005 sufficiently

cast doubt on the adequacy of a Nigerian judicial forum. The reports, including the most recent

one issued in 2006, specifically state that the judicial system does not function adequately

because of corruption and underfunding. The Court sympathizes with Abubakar’s argument that

the Country Reports, at least on their face, do not evidence a thorough analysis – statistical or

otherwise – of the state of the Nigerian judicial system. Nevertheless, federal courts routinely

recognize that these reports are evidence of a country’s stance on human rights. See, e.g.,

Margos v. Gonzales, 443 F.3d 593, 599 (7th Cir. 2006); Giday v. Gonzales, 434 F.3d 543, 556

(7th Cir. 2006); Wiwa, 2002 WL 319887 at *17. We cannot ignore this precedent.


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       The Seventh Circuit has cautioned against over-relying on Country Reports, particularly

because it is difficult for parties to question their conclusions. See Zheng v. Gonzales, 409 F.3d

804, 811 (7th Cir. 2005). In this case, however, Abubakar has hardly attempted to question the

reports’ conclusions with evidence other than his expert’s unsupported assertions. Indeed,

Abubakar has not pointed to a single instance in which an individual sued a public official for

violations of his or her human rights and actually succeeded in enforcing a judgment. Based on

the evidence presented to the Court, we believe that the conclusions contained in the Country

Reports satisfy plaintiffs’ burden, particularly because the TVPA’s exhaustion requirement is not

meant to impose a “prohibitively stringent condition precedent to recovery under the statute.”

See Xuncax, 886 F. Supp. at 178. This is, however, an alternative basis for our holding; as

discussed above, plaintiffs satisfied their burden of proving futility even without relying on the

Country Reports.

                                            Conclusion

       On the evidence presented to this Court, the plaintiffs have satisfied their burden of

proving that Nigeria did not and does not provide them an adequate forum for their lawsuit. The

case is set for a status hearing on July 13, 2006 at 9:30 a.m. The parties are directed to file, by

July 10, 2006, a joint status report regarding the discovery that has been and remains to be

conducted and proposing deadlines for the completion of any remaining fact and expert

discovery.



                                                      ____________________________________
                                                             MATTHEW F. KENNELLY
                                                             United States District Judge


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Date: June 27, 2006




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